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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 SUNIL BHATIA, derivatively on behalf of
 MEDVALUE OFFSHORE SOLUTIONS,
 INC.,                                                 Case No. 1:18-cv-02387

                         Plaintiff,                    Honorable Judge Dow

 v.                                                    Honorable
                                                       Magistrate Judge Jantz
 RAJU VASWANI, an individual,
 KARAN VASWANI, an individual,
 ASSIVO, INC. (f/k/a MV OUTSOURCING,                   JURY TRIAL DEMANDED
 INC.), an Illinois Corporation,

                         Defendants,

 and

 MEDVALUE OFFSHORE SOLUTIONS,
 INC.,

                         Nominal Defendant


                                PLAINTIFF’S STATUS REPORT
         1.     Pursuant to this Court’s order (Doc. #: 181), on Friday, September 18, 2020, the

parties held a meet and confer. On Tuesday, September 22, 2020, the parties held a follow up

conference at 3:45 p.m. That conference lasted approximately thirty minutes. During the

conference, Plaintiff’s counsel agreed to draft an initial joint status report and circulate it. Shortly

thereafter, at 5:49 p.m., Plaintiff sent the draft joint status report attached hereto as “Exhibit A” to

Defendants, as well as the email attached hereto as “Exhibit B.”

         2.     At 8:28 p.m. on September 22, 2020, defendant Raju Vaswani emailed Sunil Bhatia

the login credentials for the Google AdWords account and an agreement between MedValue and

New Jupiter Media. Raju Vaswani copied all counsel on this email.


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       3.      At 2:48 p.m. on Wednesday, September 23, 2020, Defendants’ counsel sent an

email, which is attached hereto as “Exhibit C” and a revised draft of the report, which is attached

hereto as “Exhibit D.” A redline of the revised draft report, which Defendants also provided, is

attached hereto as “Exhibit E.” At 3:01 p.m. on that date, Plaintiff’s counsel responded by email

indicating that the draft was not acceptable and requesting that Defendants’ counsel call him to

discuss. Shortly thereafter, Plaintiff’s counsel called both of Defendants’ counsel by phone and

left a message with each requesting that they call him. At 4:21 p.m., Raju’s counsel contacted

Plaintiff’s counsel. Plaintiff’s counsel indicated that he was willing to agree to the revisions

Defendants’ counsel had made to the portion of the report that Defendants’ labeled “Plaintiff’s

Update.” Plaintiff’s counsel indicated that he was further willing to consider agreeing to the

inclusion of a very brief summary of the four pages of argument Defendants’ counsel added to the

joint status report. The parties were unable to reach an agreement.

       4.      This Court’s Order (Doc. # 181) directs a joint status report to be filed on September

23, 2020. Plaintiff’s counsel understands that this submission is unacceptable as a joint status

report. However, under the circumstances, Plaintiff does not know how to further comply with

the Court’s order within the time set. Plaintiff views the arguments set forth in the joint status

report as improper for a joint status report. Even if they were proper, because of the facts set forth

above, Plaintiff’s counsel does not believe that he has had a fair opportunity to respond to them.

                                                              Regas, Frezados & Dallas LLP
                                                              By:_/s/ Steven M. Dallas        __
                                                                 Attorneys for Plaintiff
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                                 CERTIFICATE OF SERVICE
         The undersigned that on September 23, 2020, I caused to be filed with the Clerk of the
United States District Court for the Northern District of Illinois Plaintiff’s Status Report using the
Court’s ECF system, which automatically results in the transmission, by e-mail to all parties in
this action who have registered use the ECF in the Northern District of Illinois, of a notice of
electronic filing that constitutes service, pursuant to the general order issued by this Court and the
Federal Rules of Civil Procedure.
[X]     Under penalty of perjury, I certify
        that the statements set forth
        forth herein are true and correct.     _/s/ Steven M. Dallas_________
                                               Signature




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